Case 8:18-cv-00155-DOC-JDE Document 381 Filed 11/18/20 Page 1 of 1 Page ID #:4375




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

   Case No. SA CV 18-00155-DOC-JDE                                Date: November 18, 2020

  Title: ORANGE COUNTY CATHOLIC WORKER ET AL V. ORANGE COUNTY
        ET AL

  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

               Deborah Lewman                                  Not Present
               Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
               PLAINTIFF:                                  DEFENDANT:
                 None Present                                 None Present



        PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE

        The Court hereby REQUESTS that the Orange County Council and Dr. Clayton
  Chau have in attendance City Net and Orange County Health Care Agency on
  November 18, 2020 at 4:00 p.m. to report on actions and coordination efforts to address
  the immediate health concerns of individuals with mental health disorders in Fullerton.

        The Clerk shall serve this minute order on the parties.
   MINUTES FORM 11
   CIVIL-GEN                                                          Initials of Deputy Clerk: djl
